            Case 3:14-cv-03264-JD Document 1456 Filed 01/30/17 Page 1 of 4


 1

 2

 3

 4

 5

 6

 7

 8                          UNITED STATES DISTRICT COURT

 9                        NORTHERN DISTRICT OF CALIFORNIA
10
                                 SAN FRANCISCO DIVISION
11

12
     IN RE: CAPACITORS ANTITRUST             Master File No. 3:14-cv-03264-JD
13   LITIGATION
14   This Document Relates to:               [PROPOSED] ORDER GRANTING
15                                           PRELIMINARY APPROVAL OF CLASS
     ALL INDIRECT PURCHASER ACTIONS          ACTION SETTLEMENT WITH
16                                           DEFENDANTS NEC TOKIN, NITSUKO,
                                             AND OKAYA
17

18

19

20

21

22

23

24

25

26

27

28

     [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
     Case No. 3:14-cv-03264-JD
             Case 3:14-cv-03264-JD Document 1456 Filed 01/30/17 Page 2 of 4


 1          On October 6, 2016, Indirect Purchaser Plaintiffs (“IPPs”) filed a Motion for
 2   Preliminary Approval of Class Action Settlement with Defendants (1) NEC TOKIN
 3
     Corp./NEC TOKIN America Inc. (collectively “NEC TOKIN”), (2) Nitsuko Electronics
 4
     Corporation (“Nitsuko”), and (3) Okaya Electric Industries Co, Ltd. (“Okaya”). Dkt.
 5
     No. 1305. The Court heard the argument of counsel on October 14, 2016, and requested
 6

 7   further briefing.   The Court, having reviewed the motion and the further briefing, the

 8   settlement agreements, the pleadings and other papers on file in this action, and the statements

 9   of counsel and the parties, hereby finds that the motion should be GRANTED.
10
            NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
11
            1. For purposes of this Order, except as otherwise set forth herein, the Court adopts
12
                and incorporates the definitions contained in the settlement agreements (Dkt. Nos.
13
                1305-3, 4, 5), to the extent not contradictory or mutually exclusive.
14

15          2. The Court hereby preliminarily approves the settlement agreements.

16          3. The Court finds that the settlements fall within the range of possible final approval
17              and that there is a sufficient basis for notifying the settlement classes and for setting
18
                a Fairness Hearing.
19
            4. Pursuant to Federal Rule of Civil Procedure 23, the Court certifies the following
20
                settlement classes for purposes of this Motion only:
21

22                  a. NEC TOKIN

23                       All persons and entities in the United States who, during, the period
                         from April 1, 2002 to July 15, 2016, purchased directly from a
24                       distributor one or more Capacitor(s) that a Defendant manufactured.
                         Excluded from the Class are Defendants, their parent companies,
25                       subsidiaries and affiliates, any co-conspirators, Defendants’
26                       attorneys in this case, federal government entities and
                         instrumentalities, states and their subdivisions, all judges assigned to
27                       this case, all jurors in this case.

28

     [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL                                                 1
     Case No. 3:14-cv-03264-JD
            Case 3:14-cv-03264-JD Document 1456 Filed 01/30/17 Page 3 of 4


 1                b. NITSUKO
 2                    All persons and entities in the United States who, during, the period
 3                    from January 1, 2003 to March 29, 2016, purchased one or more
                      Capacitor(s) from a distributor that a Defendant manufactured.
 4                    Excluded from the Class are Defendants, their parent companies,
                      subsidiaries and affiliates, any co-conspirators, Defendants’
 5                    attorneys in this case, federal government entities and
                      instrumentalities, states and their subdivisions, all judges assigned to
 6
                      this case, all jurors in this case, and all persons and entities who
 7                    directly purchased capacitors from Defendants.

 8                c. OKAYA

 9                    All persons and entities in the United States who, during, the period
                      from January 1, 2002 to April 14, 2016, purchased one or more
10
                      Capacitor(s) from a distributor (or from an entity other than a
11                    Defendant) that a Defendant or alleged co-conspirator manufactured.
                      Excluded from the Class are Defendants, their parent companies,
12                    subsidiaries and affiliates, any co-conspirators, Defendants’
                      attorneys in this case, federal government entities and
13                    instrumentalities, states and their subdivisions, all judges assigned to
                      this case, all jurors in this case, and all persons and entities who
14
                      directly purchased capacitors from Defendants.
15
           5. The Court further finds that the prerequisites to certifying settlement classes under
16
              Rule 23 are satisfied for settlement purposes in that (a) there are at least thousands
17
              of geographically dispersed settlement class members, making joinder of all
18

19            members impracticable; (b) there are questions of law and fact common to the

20            settlement classes which predominate over individual issues; (c) the claims or
21            defenses of the class representatives are typical of the claims or defenses or the
22
              settlement classes; (d) the Indirect Purchaser Plaintiffs will fairly and adequately
23
              protect the interests of the settlement classes, and have retained counsel experienced
24
              in antitrust class action litigation who have, and will continue to, adequately
25

26            represent the settlement classes; and (e) resolution through class settlements is

27            superior to individual settlements.

28

     [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL                                              2
     Case No. 3:14-cv-03264-JD
            Case 3:14-cv-03264-JD Document 1456 Filed 01/30/17 Page 4 of 4


 1         6. The Court hereby appoints the Plaintiffs named in the Indirect Purchaser Plaintiffs’
 2            Fourth Consolidated Complaint (March 18, 2016) (ECF No. 1168) (“FCC”) as
 3
              Representative Plaintiffs of the settlement classes.
 4
           7. The Court hereby appoints the law firm Cotchett, Pitre & McCarthy, LLP as
 5
              Settlement Class Counsel.
 6

 7         8. IPPs’ Class Counsel and their designees are authorized to expend funds from the

 8            escrow accounts to pay taxes, tax expenses, notice, and administration costs as set

 9            forth in the Settlement Agreement.
10
           9. All further Indirect Purchaser class proceedings as to Defendants NEC TOKIN,
11
              Nitsuko, and Okaya are hereby stayed except for any actions required to effectuate
12
              the settlement.
13
           10. The Court retains exclusive jurisdiction over this action to consider all further
14

15            matters arising out of or connected with the settlement, except that, as provided in

16            paragraph 36 of the IPPs’ settlement agreement with NEC TOKIN, any disputes
17            regarding the interpretation or enforcement of any terms of this Settlement
18
              Agreement relating to future cooperation by NEC TOKIN, or about the triggering
19
              of the threshold specified in the Confidential Termination Agreement described in
20
              ¶39(b), shall be submitted for binding resolution by former United States District
21

22            Judge Layn Phillips or another neutral mutually agreed upon by the IPPs and NEC

23            TOKIN.

24         IT IS SO ORDERED.
25   Dated: ________________
             January 30, 2017
26                                               __________________________________
27                                               The Honorable James Donato
                                                 UNITED STATES DISTRICT JUDGE
28

     [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL                                        3
     Case No. 3:14-cv-03264-JD
